Case 1:17-cv-00276-CFC-MPT Document 20 Filed 03/05/19 Page 1 of 4 PageID #: 50



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                  )
APOTEX INC. and APOTEX CORP.,     )
                                  )
               Plaintiffs,        )
                                  )
      v.                          )                  C.A. No. 17-cv-00276-CFC-MPT
                                  )
SYMPLMED PHARMACEUTICALS, LLC and )
LES LABORATOIRES SERVIER,         )
                                  )
               Defendants.        )
                                  )

                                STIPULATION AND ORDER

       The Court, upon the consent and request of Plaintiffs Apotex Inc. and Apotex Corp.

(collectively, “Apotex”), Defendants Symplmed Pharmaceuticals, LLC (“Symplmed”) and Les

Laboratoires Servier (“Servier”) (together, “Defendants”), and third party Adhera Therapeutics

(“Adhera”) (collectively, “Symplmed/Servier/Adhera”), hereby acknowledges the following

Stipulation and issues the following Order.

                                        STIPULATION

       1.         Symplmed was, and Adhera now is, the holder of New Drug Application

(“NDA”) No. 205003 for PRESTALIA® (perindopril arginine/amlodipine besylate) oral tablets

(2.5mg/3.5mg; 5mg/7mg; and 10mg/14mg), for which U.S. Patent No. 6,696,481 (“the ’481

patent”) and U.S. Patent No. 7,846,961 (“the ’961 patent”) are listed in the U.S. Food & Drug

Administration (“FDA”) publication “Approved Drug Products with Therapeutic Equivalence

Evaluations” as covering the PRESTALIA® Products and/or their FDA-approved use.

       2.         Servier is the owner of the ’481 patent and the ’961 patent.

       3.         Apotex submitted Abbreviated New Drug Application (“ANDA”) No. 209749

to, and seeks approval from, FDA to market generic perindopril arginine/amlodipine besylate
Case 1:17-cv-00276-CFC-MPT Document 20 Filed 03/05/19 Page 2 of 4 PageID #: 51



oral tablet products (2.5mg/3.5mg; 5mg/7mg; and 10mg/14mg) (the “Apotex ANDA Product”)

prior to the expiration of the ’481 patent and the ’961 patent.

       4.          Apotex ANDA No. 209749 included a certification pursuant to 21 U.S.C.

§ 355(j)(2)(a)(vii)(IV) (“Paragraph IV Certification”) to the ’481 patent and the ’961 patent, and

Apotex provided notice of its Paragraph IV Certification to Defendants as required by 21 U.S.C.

§ 355(j)(2)(B) et seq.

       5.          Defendants filed no action for patent infringement within the statutory 45-day

period following their receipt of Apotex’s notice of its Paragraph IV Certification, and pursuant

to 21 U.S.C. § 355(j)(5)(C)(i)(II) and 35 U.S.C. § 27l(e)(5), Apotex filed the action captioned

Apotex Inc. and Apotex Corp. v. Symplmed Pharms., LLC and Les Laboratories Servier,

No. 1:17-cv-00276-VAC-MPT (this “Action”), seeking a declaratory judgment that the ’481 and

’961 patents are invalid and/or will not be infringed by the manufacture, importation, offer for

sale, sale, and/or use of the Apotex ANDA Product.

       6.          This Court has subject matter jurisdiction over this Action and personal

jurisdiction over Apotex and Defendants for purposes of this Action. Venue is proper in this

Court as to Apotex and Defendants for purposes of this Action.

       7.          The Parties have settled this Action pursuant to the terms set forth in a

Confidential Settlement Agreement, pursuant to which Symplmed/Servier/Adhera grant to

Apotex a non-exclusive license to manufacture, import, offer for sale, and sell the Apotex

ANDA Product in the U.S. as of the date, and upon the terms, set forth in the Confidential

License Agreement.

       8.          Pursuant to the Court’s entry of the below ORDER, Apotex now seeks to

dismiss this Action with prejudice.




                                                 2
Case 1:17-cv-00276-CFC-MPT Document 20 Filed 03/05/19 Page 3 of 4 PageID #: 52




Dated: March 5, 2019                      Respectfully submitted,

 /s/ Dana K. Severance                     /s/ Thomas J. Francella, Jr
 Mary W. Bourke (#2356)                    Thomas J. Francella, Jr. (#3835)
 Dana K. Severance (#4869)                 COZEN O’CONNOR
 WOMBLE BOND DICKINSON (US) LLP            1201 N. Market Street, Suite 1001
 222 Delaware Avenue, Suite 1501           Wilmington, DE 19801
 Wilmington, DE 19801                      Tel: (302) 295-2023
 Tel: (302) 252-4333                       Fax: (302) 250-4495
 Email: Mary.Bourke@wbd-us.com             E-mail: tfrancella@cozen.com
         Dana.Severance@wbd-us.com
                                           Of Counsel:
 Attorneys for Defendants
 Symplmed Pharmaceuticals, LLC and         Kerry B. McTigue
 Les Laboratoires Servier                  Barry P. Golob
                                           W. Blake Coblentz
                                           Aaron S. Lukas
                                           COZEN O’CONNOR
                                           1200 Nineteenth Street, N.W.
                                           Washington, DC 20036
                                           Tel: (202) 912-4800
                                           Fax: (202) 861-1905
                                           Email: kmctigue@cozen.com
                                                   bgolob@cozen.com
                                                   wcoblentz@cozen.com
                                                   alukas@cozen.com

                                           Attorneys for Plaintiffs Apotex Inc. and
                                           Apotex Corp.




                                      3
Case 1:17-cv-00276-CFC-MPT Document 20 Filed 03/05/19 Page 4 of 4 PageID #: 53



                                             ORDER

       Accordingly, pursuant to the above Stipulation, and upon the consent and request of

Apotex and Defendants, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

       1.      This Court has subject matter jurisdiction over this Action and personal

jurisdiction over Apotex and Defendants for purposes of this Action. Venue is proper in this

Court as to Apotex and Defendants for purposes of this Action.

       2.      The filing and maintenance of the Apotex ANDA with a Paragraph IV

Certification to the ’481 patent and the ’961 patent constitutes a technical act of infringement of

the ’481 patent and the ’961 patent under 35 U.S.C. § 271(e)(2)(A).

       3.      Pursuant to the Confidential Settlement Agreement of the parties, all claims set

forth in Apotex’s Complaint in this Action are hereby dismissed with prejudice.

       4.      The Clerk of the Court is directed to enter this Stipulation and Order forthwith.



SO ORDERED this ______ day of _____________, 2019


                                                      UNITED STATES DISTRICT JUDGE
